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United States District Court

Sauth Mictrict of Teva

FILED
UNITED STATES DISTRICT COURT OCT 11 2021

AO 91 (Rev. 11/11) Criminal Complaint

Southern District of Texas Nathan Ochsner, Clerk

 

United States of America )
Vv. ) .
Jonathan Guemez (Y.0.B. 1992) )  CaseNo. M-Q| - a1%2 Mm

Citizenship: USA

)

)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 10, 2021 in the county of Hidalgo in the

 

 

Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 U.S.C § 952 Knowingly and intentionally import into the United States from the United

21 U.S.C § 841 Mexican States approximately 3.94 kilograms of heroin, a Schedule |

controlled substance, and did knowingly and intentionally possess with the
intent to distribute approximately 3.94 kilograms of heroin, a Schedule |
controlled substance.

This criminal complaint is based on these facts:

See "Attachment A"

. @ Continued on the attached sheet.

Sworn to and executed by reliable electronic means, sworn to /s! Mathew J Orzechowski

 

Printed name and title and attested telephonically per
FED.R.CR.4.1, and probable

cause found on: Approved 10/11/21 by

AUSA Eliza Carmen Rodriguez
Sworn to before me and signed in my presence.

 

Date: October 11,2021 5:51 PM

City and state: McAllen, TX

Complainant's signature

Mathew J Orzechowski HS! Special Agent

Printed name and title

 

 

Judge's herature

Nadia Medrano, U.S. Magistrate Judge

 

Printed name and title
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Attachment A

On October 10, 2021, Jonathan GUEMEZ, driving a 2014 Jeep Grand Cherokee, arrived at the Customs
and Border Protection (CBP) Port of Entry (POE), in Hidalgo, Texas. GUEMEZ was travelling from Mexico
and was seeking entry into the Unites States. Based on an active targeting record, GUEMEZ was
referred to secondary inspection whereupon Homeland Security Investigations (HSI) Special Agents (SAs)
and CBPOs discovered a concealed compartment in the vehicle. A total of three packages were
extracted from the compartment. CBPOs extracted a substance from one of the bricks which field-
tested positive for the properties of heroin. The three bricks had a combined total weight of 3.94
kilograms.

Vehicle registration records indicated the 2014 Jeep Cherokee was registered to GUEMEZ at the time of
encounter, and GUEMEZ was the sole owner and operator of the vehicle.

HSI SAs, with the assistance of a CBP Task Force Officer (TFO) conducted a post-Miranda custodial
interview of GUEMEZ. During the interview, GUEMEZ made multiple false statements and presented
incorrect facts already known to investigators. When confronted, GUEMEZ admitted to lying, and
changed his story multiple times.

GUEMEZ denied knowledge of transporting narcotics but stated he has knowingly transported a total of
approximately $250,000 in United States currency, over ten occasions; money which GUEMEZ admitted
had ties to a drug trafficking organization. GUEMEZ also admitted to transporting the currency in the
glove compartment of the vehicle.

GUEMEZ admitted each time he was tasked with picking up currency, unknown individuals took his
vehicle from him for various amounts of time. GUEMEZ was unable to explain the need for the
organization to take the vehicle for various lengths of time, based on the fact that the money was not
concealed deeply within hidden compartments. The amount of time the vehicle was taken from him is
consistent with the amount of time necessary to access the narcotics found within the hidden
compartment.
